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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

      Plaintiff,

v.

ENOCH SMITH (a.k.a., “Rudy Slack”),
et al.,

      Defendants.                                 Case No. 05-cr-30133-07-DRH

                           MEMORANDUM & ORDER

HERNDON, District Judge:

            Before the Court are two Motions made on behalf of defendant Enoch

Smith. The first is a Motion to Produce Evidence Favorable to defendant Smith

(Doc. 295). The second is a Motion for Disclosure of Impeaching Information (Doc.

296). The Court notes that the Government has complied with Defendant’s requests

made in the first Motion (Doc. 295) through its various Responses (Docs. 308, 310

& 313) and the second Motion through a single Response (Doc. 309). Defendant has

not stated otherwise. Therefore, a ruling upon either Motion is unnecessary, as the

Court finds that the Government has complied with Defendant’s requests for relief.

Said Motions (Docs. 295 & 296) will thereby no longer be pending before this Court.



            IT IS SO ORDERED.

            Signed this 17th day of January, 2007.

                                                     /s/       David RHerndon
                                                     United States District Judge
